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                            Exhibit 1
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                                         SENATE
                              NOTICE OF PUBLIC HEARING


COMMITTEE:        Child Protective Services, Special
TIME & DATE:      12:00 PM, Thursday, March 17, 2022
PLACE:            Senate Chamber
CHAIR:            Senator Lois Kolkhorst



The Special Committee on Child Protective Services will meet Thursday,
March 17, 2022 at 12:00PM.

Invited testimony only.



NOTICE OF ASSISTANCE AT PUBLIC MEETINGS
PERSONS WITH DISABILITIES WHO PLAN TO ATTEND THIS MEETING AND WHO MAY NEED
ASSISTANCE, SUCH AS A SIGN LANGUAGE INTERPRETER OR PERSONAL ASSISTIVE
LISTENING DEVICES, ARE REQUESTED TO CONTACT THE SENATE COMMITTEE
COORDINATOR AT 512/463-0070, 72 HOURS PRIOR TO THE MEETING SO APPROPRIATE
ARRANGEMENTS CAN BE MADE.

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